Following a jury trial, appellee, Paul A. Lawrinson, was found guilty on one count of kidnapping, in violation of R.C.2905.01, and one count of gross sexual imposition, in violation of R.C. 2907.05. On July 10, 1990, the Lake County Court of Common Pleas merged the above two counts for sentencing purposes and sentenced appellee to serve an indefinite term of incarceration of seven to twenty-five years. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 16, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                               ______________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.